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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
CHRISTOPHER A. SCHREINER, )
MICHAEL A. SCHREINER and )
MARK CORTINO, )
Plaintit`fs, )
)
vs. ) No. l:l7-cv-O7530
)
U.S. SMOKELESS TOBACCO CO. ) Hon. Sara L. Ellis
ALTRIA GROUP, INC. and )
LESLIE WARD )
Defendants. )

PLAINTIFF’S FIRST AMENDED COMPLAINT
NOW COMES Plaintiffs Christopher A. Schreiner, Michael A. Schreinei' and
l\/lark Cortino, by and through their attorney Michael J. Young and complaining of Defendants,

U.S. Smokeless Tobacco Co., Altria Group, lnc., and Leslie Ward, states as follows:

JURISDICTION AND VENUE
1. Plaintiffs filed state law claims in the Circuit Court of Cook County. Defendants,
U.S. Smokeless Tobacco Company Co., Altria Group, Ine. and Leslie Ward removed
this matter pursuant to 28 U.S.C. 1331, 1367, 1441 and 1446 claiming federal
question and supplemental jurisdiction Venue is proper as the actions complained of

occurred Within the Northern Distriet of lllinois.

 

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PAR'I`lES
Plaintiff Christopher A. Schreiner (“Christopher”) is an individual and resident of
DuPage County, lllinois.
Plaintiffl\/lichael A. Schreiner (“Michael”) is an individual and resident of DuPage
County, Illinois.
Plaintiff Mark Cortino (“Marl<”) is an individual and Was a resident of Cook County,
lllinois.
Defendant U.S. Smokeless Tobacco Company (“USST” or “Ernployer”) is a
subsidiary of Altria Group, lnc. (“Altria”).
Defendant Altria Group, Inc., is a Virginia Corporation and parent company to co-
defendant USST, headquartered in Richrnond, Virginia.
Defendant Leslie Ward (“Ward”) is or Was a Manager of Employee Relations for
defendants USST and Altria.
USST is headquartered in Richmond, Virginia and has a manufacturing facility in
Franklin Park, Cook County, lllinois.
While an employee and agent of USST and Altria, Ward conducted business on behalf

of USST and Altria in Franldin Park, Cool< County, lllinois.

NATURE OF THE CASE
Plaintiffs set forth all the following paragraphs and allegations based upon
information and belief .
Altria is an American corporation and is one of the World’s largest producers and

marketers of tobacco, cigarettes, and related products

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On January 6, 2009, Altria acquired USST, a smokeless tobacco manufacturer

On October 27, 2016, Altria announced that Altria would be closing two of its
manufacturing facilities by early 2018, affecting approximately 580 workers

This announcement followed shortly after Altria reported a 29 percent drop in profits
for its most recent quarter. The reported income in the 3 months ending on
September 30, 2016, was $l .09 billion, compared to $1.53 billion during the same
period in the previous year.

The company did not Specify how many employees would be laid off, but said that
their employees would be offered the chance to relocate to other facilities

The plant closures were expected to save Altria approximately $50 million and be
completed by early 2018.

The Altria factory located in Franlclin Park, lllinois which employed approximately
300 workers, was one of the two facilities to be closed

Following the announcement of the plant closures, USST installed additional security
cameras in the Franklin Parlc facility.

Christopher had been employed With USST since May 24, 2013, as a Production
Mechanic.

During his employment With USST, Christopher received several Employee of the
Month awards and was considered by USST to be a good employeel

Christopher maintained a perfect attendance record while employed with US ST.

Michael had been employed with USST since May 24, 2013, as a Production

Mechanic.

During his employment with US ST, Michael was nominated for Ernployee of the

Month, losing to his brother Christopher.

 

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Michael maintained a perfect attendance record while employed with USST and was
considered by USST to be a good employee

Mark had been employed with USST since January 7, 2017.

Christopher, Michael and Mark worked the third shift at USST, and each had the
option to work four hours early or four hours late each day.

Plaintiffs are members of the Service Employees lnternational Union Local No. 1 (the
“Union”).

On March l, 2015, USST and the Union entered into a collective bargaining agreement
(the “CBA”), for the Skilled Trades Division.

On or about January 27, 2017, at a morning meeting, Javier C., a USST production
supervisor advised the employees at the Franklin Park facility that something had
gone wrong With the video jets and all employees could have overtime if they desired.
On or about January 27, 2017, at approximately l 1:00 p.m. Plaintiffs were called into
the office for individual questioning by representative of the United States Food and
Drug Administration. Ward the head of maintenance and Charles B. a, union steward,
were also present

At a meeting held on January 28, 2017, Plaintiffs were individually questioned
regarding their Whereabouts on December 21, 2016.

Plaintiffs were advised during their individual interrogations that the situation was
more serious than the video jet, but no specifics were provided

On or about January 30, 2017, at approximately 6:30 a.m., Michelle Allen from
USST called a facility-wide meeting

The meeting was called due to non-product related material (“NPRM’) being found in

a product produced at the Franldin Parl<; facility.

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On or about February 2, 2017, Plaintiffs were told by their supervisor “Eddie” to sit
in the public cafeteria to be questioned for a second time, between the hours of

7:00 a.m. and 10:45 a.m.

Private offices were available for this purpose, but despite the availability of a private
setting, USST forced Plaintiffs to sit in the public forum of the cafeteria

There was a heightened alert throughout the facility regarding the seriousness of the
NPRM being found in the products produced at the facility.

Fellow co-workers teased, taunted and poked fun at the Plaintiffs as they sat waiting
to be interrogated in the cafeteria

One employee named .leny, referred to the table where Plaintiffs sat as the “criminal
table.”

Christopher requested that he and the other Plaintiffs be allowed to move to a less
public area while awaiting interrogation

Plaintiffs were embarrassed to be required to sit at a cafeteria table for public viewing
where other employees could view them and give looks of disgust.

Plaintiffs were allowed to move to another cafeteria to await interrogation

After being kept on public display, Plaintiffs were finally called in for individual
interrogation at approximately 10:45 a.m. and were informed that they were accused
of criminal activity regarding the NPRM.

Mark was told that the “other guys” implicated him.

When Christopher was questioned, he was asked his nationality, and was questioned
regarding the nationality of his wife and Michael.

On or about February 2, 2017, another facility wide meeting was called and conducted

by Michelle Allen.

 

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A majority of the facility employees were extremely angry as it was announced that
the promised severance pay would be placed on hold until the NPRM issue was
resolved

Michelle Allen asked that all employees in attendance come forward with the names
of anyone who they even thought could be involved, requesting all information on any
activity that the employees deemed suspicious, whether or not it was relevant to the
NPRM, and suggested that the employees look towards one another and provide
information about anything they deemed unusual in their work areas

On February 2, 2017, Plaintiffs were individually asked to go to the safety conference
roorn, where Ward and Dave Rogan advised Plaintiffs they were among four persons
of interest in the NPRM matter.

Plaintiffs were told that they were either suspects or were withholding information
Plaintiffs were told they would be suspended without pay until further notice, and
USST would notify them when they would be allowed to return to work.

Plaintiffs Were then escorted from the building by security without being allowed to
retrieve personal property, including tools, which they would need to be employed
with a different employer.

On or about February 2, 2017, Plaintiffs each received a letter from USST, signed by
Ward stating that USST had identified them as persons of interest in the ongoing
NPRM matter and further advising them that they were suspended immediately,
Without pay, pending the outcome of the investigation

On or about February 3, 2017, Defendants told Plaintiffs that the other Plaintiffs had

accused them of being involved in product tampering

 

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On or about February 13, 2017, Plaintiffs received a call from Ward advising them
that they needed to attend a meeting at 11:00 a.m. on February 14, 201?, to face
another round of interrogation Ward told Plaintiffs that their attendance was
voluntary and they would be able to obtain their personal belongings at that time.

The Plaintiffs each contacted the Union and requested representation at the meeting
The Union advised the Plaintiffs that a Union representative would be in attendance
Although representatives from the Union were present at the meeting, they were
denied access to the interrogation room by USST, with US ST claiming that Union
representation was not appropriate as the investigation was criminal in nature.

The Union representatives remained on the premises, but outside of the interrogation
During the meetings, Plaintiffs learned that USST had burglarized their personal tool
boxes by drilling through the locks and searching the contents, and had done so
without notice to Plaintiffs and without any Union representatives present to witness
the procedure.

A letter addressed to Christopher, dated February 14, 2017, acknowledged that he
had the right to remove his toolbox from the facility, but USST would not allow
Christopher to remove his toolbox when he left the facility.

Christopher and Michael were then served with subpoenas for their fingerprints to be
taken at the Dirksen Federal Building.

On February 16, 2017, Christopher and Michael appeared pursuant to the subpoenas
and were fingerprinted

On or about February 23, 2017, Plaintiffs received a letter, pursuant to the WARN
Act Notice, with information regarding USST’s plan to permanently close the

Franklin Park facility.

 

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On or about February 28, 2017, at approximately 7:30 a.m., a S.W.A.T. team
smashed its way into Mark’s horne using battering rams simultaneously on all his
exterior doors.

At that time, Mark’s children Zach, age 21; Randy, age l9; and Channing, age ll,
were all in the home,

Flash grenades were deployed, followed by extremely loud explosions and smoke,
along with S.W.A.T. storm troopers rushing the home, barking orders for everyone
including the children, to get to the ground

The invading force was heavily armed, even though there were no weapons on the
premises, and assault rifles were trained on Mark and his children

Mark and the children were then zip tied with their hands behind their back and
forced into the living room.

After completing a 45 minute interrogation, the zip ties were finally removed
Mark’s wife arrived home from work and removed the children to safety at an aunt’s
house.

Mark was asked to leave his horne so as not to witness it being ransacked for the
following 5 hours.

Mark’s home was damaged and pillaged, with personal items strew about and
damaged, drawers openl, trash sifted through, drywall destroyed, carpeting burned,
and every door including the garage door damaged

Mark’s homeowner’s insurance paid out approximately $11,000.00 for the damage.
On or about March 1, 2017, Mike Bush (“Bush”) from the United States Food and

Drug Administration, appeared at Christopher and Michael’s mother’s home.

 

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Bush told the mother that she and her husband needed to talk some sense into their
boys.

Bush told the mother that Christopher and Michael were protecting someone they did
not really know.

Bush stated that he would hate for “something terrible to happen if this was not
resolved”

Bush then tried to get a phone number for Christopher and Michael’s father who was
not home at the time.

On or about May 15, 20l7, each Plaintiff received a letter which stated that USST
had determined to terminate their employment immediately

The letter stated that the Plaintiffs would not be eligible for the severance benefits to
be paid on account of the facility closing and would not receive back pay for the
period of their suspension

During his suspension, Christopher was denied a job opportunity at Peacock Foods
Greencore USA because a hiring manager was told by US ST that Christopher was the
prime suspect in the NPRM investigation

The CBA is limited to wages, benefits, terms and conditions of employmentl

The CBA does not address tortuous acts against employees

Defamation is not a term or condition of employment and the CBA does not provide
a mechanism to redress Defendants tortious conductl

Article 5, Section 2 of the CBA provides in relevant part:

“...Although the Company (USST) agrees that it will only deal with the
designated representatives of the Union on such matters as are properly a

subject for collective bargaining . . “

 

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Defamation is not a subject of collective bargaining and is not a proper subject for
collective bargaining

As defamation is not a covered subject of collective bargaining Plaintiffs are not
restricted to redressing their damages through the grievance procedure set forth in the
CBA.

Even if the process of seeking damages for defamation were a proper subject of collect
bargaining, it would be futile to pursue a grievance as the Defendants by their actions
have indicated their intention to harm the Plaintiffs and will not compensate Plaintiffs
for their losses

Plaintiffs are not required to partake in a futile process that will not resolve their
claims

Pursuant to the CBA, after Step 1 of the grievance procedure, the Union has total
discretion as to whether, or how far to pursue a grievance

The Union has failed or refused to pursue the Plaintiffs’ grievances with or about the
Defendants and their actions, and Plaintiffs have exhausted all remedies available to
them pursuant to the CBA. On March 9, 2018, the Vice President of Local 1 (Union)
notified each Plaintiff by letter, stating:

“Your case was presented in front of the Grievance Merit Board for
determination of its merits for further processing The Grievance Merit
Board, after presentation of all the evidence and arguments regarding your
grievance, has determined that your grievance is lacking in merit to be
successfully pursued through arbitration Please be advised that with that
decision from the Grievance Merit Board your grievance has been closed
Therefore, Local 1 will not take any further action on your behalf regarding

this particular grievance”.

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FIRST CLAIM FOR RELIEF
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Plaintiff hereby realleges and and reaffirms paragraphs 1 through 92 as if the same
were set forth here verbatim.

On or about February l, 2017, Plaintiffs were told by a supervisor to sit in a public
cafeteria for several hours while waiting to be inteirrogated by USST, Altria, Ward and
the FDA.

Defendants did not take any reasonable steps to keep the investigation confidential
with respect to their suspicions regarding Plaintiffs

Defendants encouraged a “witch hunt” by asking that Plaintiffs sit in a public area for
several hours as each was called in for interrogation

By forcing Plaintiffs to sit and remain in a public area, Defendants were effectively
accusing Plaintiffs of a crime and communicating that accusation to all other
employees

Hundreds of thousand of dollars in severance pay and benefits, if not more, were at
risk to be denied to all or the majority of employees affected by the facility closing,
due to the NPRM problem.

The symbolic speech of USST in singling out the Plaintiffs publicly and forcing them
to sit at a table in a public setting, resulted in rumors and speculation that Plaintiffs
were the persons responsible for the NPRM problem, and created the impression to

Plaintiffs co-workers that Plaintiffs were the persons responsible for their loss of

severance benefits No other employees were placed on public display.

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US ST had a duty to use reasonable care to minimize the defamatory effects of their
investigation, and the defamatory effects on Plaintiffs character and reputation among
their colleagues and supervisors

USST could reasonably foresee that singling Plaintiffs out to sit and wait at a table in
the cafeteria for hours would reflect USST’s bias toward Plaintiffs as suspects in the
NPRM problem.

Defendants were improperly motivated to fast-track the investigation and cut corners
to get to the desired resolution

On or about February 2, 2017, Plaintiffs each received a letter from USST, signed by
Leslie Ward, which stated that each Plaintiff was a person of interest in the ongoing
product tampering probe and suspending them without pay pending the outcome of
the investigation

On or about February 3, 2017, Plaintiffs were told they were being accused of
criminal conduct regarding the NPRM.

On or about February 3, 20l7, Defendants told each of the Plaintiffs that the other
Plaintiffs had accused them of being involved in product tampering

On or about May l5, 2017, Plaintiffs each received letters stating that they were
terminated effective immediately

Defendants made statements to the media, which were not true and which slandered
the Plaintiffs

These statements have defamed Plaintiffs in their trade, business and professions
Defendants were negligent in failing to determine the truth of the defamatory

statements and actions

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Defendants intentionally or recklessly failed to determine the truth of the defamatory
matter.

Defendants knew that they had no basis in fact for their statements and actions and
knew that their defamatory statements and actions were false and untrue.

Defendants acted with utter disregard as to their defamatory words and actions which
were false and untrue

Defendants acted with malice and ill will toward the Plaintiffs

rl`he actions of Defendants are egregious and with complete disregard for the truth
and were willful and wanton and merit an award of punitive damages

Plaintiffs’ right to be free from defamation has been denied under the common law of
the State of lllinois.

Plaintiffs’ claim for damages is controlled, and determined by state law and can be
adjudicated without interpreting the CBA.

The actions of the defendants their employees and agents and each of them as alleged
herein, were known, ratified, and approved by the officers or managing agents of the
defendants and each of them, thereby entitling Plaintiffs to punitive or exemplary
damages against USST and Altria, in an amount to be determined at trial.

As a direct and proximate result of the wrongful acts of the Defendants as
aforedescribed, Plaintiffs have suffered and continue to suffer from humiliation,

anxiety, emotional distress, worry and fear.

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SECOND CLAIlVI FOR RELIEF
BREACH OF CONTRAC'I`

Plaintiff hereby realleges and and reaffirms paragraphs 1 through 118 as if the same
were set forth here verbatim.

Plaintiffs are beneficiaries of the CBA.

Article 5, Section l0 of the CBA prohibits discipline or discharge without just cause.
The suspension of Plaintiffs was without just cause.

The termination of Plaintiffs was without just cause.

The CBA requires the presence of a Union representative during any disciplinary
meeting, and provides in relevant part:

“. . . any employee who is called into an office for an interview, after the
employee believes he or she has been sufficiently informed of the subject
of the interview, may request and obtain the presence of a Union Steward
during such interview. When the request is made by the employee to have
a Union Representative be present, the Company must comply, regardless

of whether a grievance is involved or not.”

USST breached its obligations pursuant to the CBA by failing to conduct a proper
and unbiased investigation into the NPRM incident; in refusing to allow Plaintiffs
Union representation; breaking into the Plaintiffs’ tool boxes prior to their discharge,
while under investigation and with no Union Representative present during the
search; disciplining Plaintiffs without cause ; and in terminating Plaintiffs without

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Defendants undertook these actions as described above intentionally, oppressively
and maliciously with an evil and malevolent motive to injure Plaintiffs, resulting in the
termination and damage to the Plaintiffs

As a direct and proximate result of the wrongful acts of the Defendants as
aforedescribed, Plaintiffs have suffered and continue to suffer from humiliation,
anxiety, emotional distress, worry and fear.

As a direct and proximate result of USST’s breach of the CBA, Plaintiffs have
suffered and continue to suffer substantial losses in earnings, back pay, severance pay
and benefits, and raises which Plaintiffs would have received had USST not breached

the CBA.

THIRD CLA]l\/I FOR RELlEF
INTENTIONAL INFLECTION OF EMOTIONAL DISTRESS

Plaintiff hereby realleges and reaffirms paragraphs l through 128 as if the same were
set forth here verbatim

Defendants’ conduct as described herein was extreme and outrageous

Defendants knew there was a high probability their conduct Would inflict severe
emotional distress upon Plaintiffs

Defendants recklessly disregarded the high probability that their conduct would inflict
severe emotional distress upon Plaintiffs and their conduct did in fact cause Plaintiffs
severe emotional distress

Plaintiffs suffered medically significant and diagnosable emotional distress as a result

of Defendants’ actions as set forth above.

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WHEREFORE, Plaintiffs, Christopher A. Schreiner, Michael A. Schreiner, and

Mark Cortino pray this Honorable Court enter judgment in their favor against Defendants,

U.S. Smol<eless Tobacco, Altria Group, Inc. and Leslie Ward, jointly and severally as follows:

A. Awarding compensatory damages in the amount of $250,000.00 to each Plaintiff;

Awarding exemplary damages in an amount that is found to be fair and just based

upon the Defendants’ assets;

C. An award of attorney fees and costs associated with having to bring this action; and,

D. Granting such other and further relief as may be equitable and just.

Dated: August 31, 2018

Respectfully submitted,

  

  
   

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